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                                 Exhibit G
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    From:                  Jennifer Lieser
    To:                    "Lesley Buchan"; Nina Marino
    Cc:                    Cody Elliott
    Subject:               RE: Return of Mellein property
    Date:                  Monday, December 20, 2021 2:36:00 PM


   Lesley – thank you for coordinating the pick up of the Melleins’ property this morning. Per our
   conversation regarding the composition of the additional gold coins stored in Box #224, there should
   be 3 additional Canadian maples and 60 additional American Eagles. We would very much
   appreciate it if you could take a look at the inventories for the Box to see if you can locate.

   Thanks again and happy holidays!

    JENNIFER LIESER



    Lieser@kaplanmarino.com
    1546 N. Fairfax Ave.
    LOS ANGELES I CA I 90046
    310-557-0007 I FAX 310-861-1776
    www.kaplanmarino.com
   PLEASE NOTE OUR NEW ADDRESS



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   please contact the sender and destroy all copies of the communication.

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   and/or Attorney Work Product privileges.



   From: Jennifer Lieser
   Sent: Wednesday, December 15, 2021 4:44 PM
   To: Lesley Buchan <LBUCHAN@fbi.gov>; Nina Marino <Marino@kaplanmarino.com>
   Cc: Cody Elliott <Elliott@kaplanmarino.com>
   Subject: RE: Return of Mellein property

   Thank you, Lesley. See you on Monday.

    JENNIFER LIESER



    Lieser@kaplanmarino.com
    1546 N. Fairfax Ave.
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   From: Lesley Buchan <LBUCHAN@fbi.gov>
   Sent: Wednesday, December 15, 2021 10:51 AM
   To: Jennifer Lieser <Lieser@kaplanmarino.com>; Nina Marino <Marino@kaplanmarino.com>
   Cc: Cody Elliott <Elliott@kaplanmarino.com>
   Subject: RE: Return of Mellein property

   Hi Jennifer and Cody,

   I have the return scheduled for Monday, December 20th at 10 am. When you arrive at the federal
   building, go to the stand alone building on the left side of the main building when you are walking up
   from the parking lot and use the call box to let reception know you are there for the return. I will
   have your names on the list with reception ahead of time so they know to expect you. I will meet
   you in that building for the return. Also, the new requirements are for visitors to show proof of
   vaccination or results showing a negative COVID-19 test within 72 hours. So please bring either of
   those with you. See you on Monday. Thank you.



   Lesley Buchan
   Special Agent
   Federal Bureau of Investigation
   Los Angeles Field Office
   Phone: 310-996-3906




   From: Jennifer Lieser <Lieser@kaplanmarino.com>
   Sent: Friday, December 10, 2021 4:38 PM
   To: Nina Marino <Marino@kaplanmarino.com>; Buchan, Lesley (LA) (FBI) <LBUCHAN@fbi.gov>
   Cc: Cody Elliott <Elliott@kaplanmarino.com>
   Subject: [EXTERNAL EMAIL] - RE: Return of Mellein property

   Lesley – I will meet you at 10am on Dec 20. Thanks.

    JENNIFER LIESER
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   and/or Attorney Work Product privileges.



   From: Nina Marino <Marino@kaplanmarino.com>
   Sent: Friday, December 10, 2021 4:24 PM
   To: Lesley Buchan <LBUCHAN@fbi.gov>
   Cc: Cody Elliott <Elliott@kaplanmarino.com>; Jennifer Lieser <Lieser@kaplanmarino.com>
   Subject: RE: Return of Mellein property

   Lesley, Cody Elliott and Jennifer Lieser will be facilitating the return. They will advise regarding
   scheduling. Thank you.

   NINA MARINO



    marino@kaplanmarino.com
    1546 N. Fairfax Avenue
    LOS ANGELES I CA I 90046
    310-557-0007 I FAX 310-861-1776
    www.kaplanmarino.com
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   please contact the sender and destroy all copies of the communication.



   From: Lesley Buchan <LBUCHAN@fbi.gov>
   Sent: Friday, December 10, 2021 4:14 PM
   To: Nina Marino <Marino@kaplanmarino.com>
   Cc: Cody Elliott <Elliott@kaplanmarino.com>; Jennifer Lieser <Lieser@kaplanmarino.com>
   Subject: Re: Return of Mellein property

   Ms. Marino,
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   Would next Monday or Tuesday 12/20 or 12/21 at 10am work for you?

   From: Nina Marino <Marino@kaplanmarino.com>
   Sent: Friday, December 10, 2021 1:23:17 PM
   To: Buchan, Lesley (LA) (FBI) <LBUCHAN@fbi.gov>
   Cc: Cody Elliott <Elliott@kaplanmarino.com>; Jennifer Lieser <Lieser@kaplanmarino.com>
   Subject: [EXTERNAL EMAIL] - Return of Mellein property

   Leslie, I just left you a vm. We will make ourselves available as befits your schedule. Please advise
   when would be convenient for the property return.

   NINA MARINO



    marino@kaplanmarino.com
    1546 N. Fairfax Avenue
    LOS ANGELES I CA I 90046
    310-557-0007 I FAX 310-861-1776
    www.kaplanmarino.com
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